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                              UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
                                             (973) 776-7700
            CHAMBERS OF                                                               U.S. COURTHOUSE
    JAMES B. CLARK, III                                                           50 WALNUT ST. ROOM 2060
UNITED STATES MAGISTRATE JUDGE                                                        NEWARK, NJ 07102




                                             March 29, 2023

                                           LETTER ORDER

      Re:      Morales v. Healthcare Revenue Recovery Group, LLC et al.
               Civil Action No. 15-8401 (EP)

      Dear Counsel:

      As discussed during the telephone conference held in this matter earlier today, and for the reasons

  set forth on the record, the Court will conduct a telephone status conference with the parties on June

  28, 2023 at 11:30 AM. Counsel for Defendant shall initiate the call.


      IT IS SO ORDERED.

                                                           s/ James B. Clark, III
                                                       JAMES B. CLARK, III
                                                       United States Magistrate Judge
